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        In the United States Court of Federal Claims
  * * * * * * * * * * * * * * * * **
  HARMONIA HOLDINGS GROUP,
  LLC,                                        *
                                              *
                     Protestor,               *
                                              *
  v.
                                              *
                                                No. 19-750C
  UNITED STATES,                              *
                                                Filed: June 7, 2019
                                              *
                     Defendant,               *
  v.                                          *
                                              *
  MIL CORPORATION,                            *
                 Defendant-Intervenor.
  * * * * * * * * * * * * * * * * **

                                         ORDER

        On June 7, 2019, the court held an oral argument in the above-captioned protest
on protestor’s motion for preliminary injunction. For the reasons discussed at the oral
argument, protestor’s motion for preliminary injunction is DENIED. As agreed to at the
oral argument, as a result of the denial, the above captioned protest is DISMISSED,
without prejudice. If protestor decides to file a bid protest after the a decision by the GAO,
in the interest of judicial economy, such a protest should be assigned to the undersigned,
and the Clerk’s Office shall waive the protestor’s filing fee.


       IT IS SO ORDERED.

                                                       s/Marian Blank Horn
                                                       MARIAN BLANK HORN
                                                                Judge
